ROBERT E. AND ROSE ANN GUTHRIE, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentGuthrie v. CommissionerDocket No. 1141-71.United States Tax CourtT.C. Memo 1976-35; 1976 Tax Ct. Memo LEXIS 366; 35 T.C.M. (CCH) 143; T.C.M. (RIA) 760035; February 10, 1976, Filed Robert E. Guthrie, pro se. 1*367 Richard D. Hall, Jr., and Frederick T. Carney, for the respondent.  DAWSONMEMORANDUM FINDINGS OF FACT AND OPINION DAWSON, Chief Judge: This case was assigned to and heard by Special Trial Judge Randolph F. Caldwell, Jr., pursuant to Rules 180 and 182, Tax Court Rules of Practice Procedure. The parties have filed no exceptions of law or fact to Special Trial Judge Caldwell's report. The Court agrees with and adopts his opinion which is set forth below. OPINION OF THE SPECIAL TRIAL JUDGE CALDWELL, Special Trial Judge: This case was one of a group of 37 which were consolidated for trial, but not for opinion. At the trial, evidence was received which bears upon every case in the group. This evidence relates to certain contractual arrangements between the husband-petitioners' employers (Lockheed Air Service Company and Dynalectron Corporation) and the United States Air Force, as well as the employment arrangements between field team members (such as the husband-petitioners) and such employers. Respondent determined a deficiency in petitioners' 1969 Federal income taxes in the amount of $161.38. In an amendment to his answer to conform the pleadings*368  to the proof, respondent seeks an increased deficiency in the total amount of $547.29, or an increase of $385.91 over the amount determined in the statutory notice. The issue is whether all or any portion of $3,024 of per diem payments received by petitioner Robert Guthrie (hereinafter, "petitioner") from Dynalectron Corporation should be included in his gross income for 1969 under section 61(a) of the Internal Revenue Code of 1954; 2 and, if so, whether petitioner is entitled to deduct any or all of said amount as away-from-home traveling expenses under section 162(a)(2). FINDINGS OF FACT Petitioners, husband and wife, filed their 1969 return with the Internal Revenue Service Center at Chamblee, Georgia. At the time of filing their petition herein, they resided at Montgomery, Alabama. During 1969 petitioner was employed as a member of three different field teams by Dynalectron Corporation (hereinafter, "Dynalectron"). Dynalectron, as well as Lockheed Air Service Company (hereinafter, "Lockheed") had a contract with the United States Air Force during 1969, *369  to provide field team services for the maintenance and modification of weapons systems (i.e., aircraft) and/or support equipment. These contracts were called "basic contracts" and the Air Force entered into such a contract with each of three different contractors. The contracts were for three years maximum duration, and those involved here were for the three fiscal years, July 1, 1967-June 30, 1968; July 1, 1968-June 30, 1969; July 1, 1969-June 30, 1970. The contract was firm for the first of the three years; but the Air Force had the unilateral right to extend the contract for the second and third years of the three-year period. The contracts were so extended by the Air Force insofar as both Lockheed and Dynalectron were concerned. (The record herein does not identify the third contractor who had the basic contract.) The basic contract did not, of itself, award any work to be performed thereunder. It did specify the wage rates which would be paid for services rendered by employees of the contractor, if the contractor got work to be performed under the contract. The contract also contained the following provisions relating to the payment of per diem: (ii) Per Diem, not to exceed*370  the applicable amounts set out below, when actually paid by the Contractor and approved by the Administrative Contracting Officer, shall be reimbursed to the Contractor, without regard to the duration of the assignment; provided, however, that no per diem shall be authorized or paid to any employee whose actual residence is within 50 miles of the work station to which the employee is assigned, nor shall any per diem be paid to any employee who actually resides at and commutes from his actual residence during the period of his employment, regardless of the distance between said residence and his assigned work station: (See (ii)(e) below). (a) In the CONUS (No quarters and messing facilities furnished by the Government)--$11.00-Per day per man for Engineer and Leadman and, $9.00-Per day per man for the remainder. * * * * *(e) For the purpose of this contract the term "actual residence" is defined as the fixed or permanent domicile of an employee. The employee shall certify to the location of his fixed or permanent domicile and this location, if accepted by the Contractor, shall be deemed, for the purpose of this contract, to be the employee's domicile in so far as per diem*371  authorization against this contract is concerned. However, this does not relieve the Contractor of his responsibility to ascertain that the certification is valid. The opportunity for the contractor to perform under the basic contract arose from the issuance by the Air Force of a work order thereunder. Issuance of a work order was entirely within the discretion of the Air Force, and it alone had the discretion to select which one of the three holders of a basic contract that was to perform the work order. Performance under a work order might be at any place in the United States or at any place overseas where the Air Force maintained a base. Under the terms of the basic contract, work orders could only be issued during a given year of a basic contract. However, completion of a work order actually issued during such year might be effected after the end of the year. When the Air Force had determined to issue a work order and had notified a contractor of its selection to perform that order, representatives of the Air Force and of the contractor would get together at a "pre-dock" meeting where the time for completion of the contract and the make-up of the contractor's projected field*372  team complement would be worked out. Determination of the time of performance entailed fixing an input-output schedule -- the schedule which showed the number of units coming into the contractor for its maintenance and modification services per day or week or month, and the number of units to be completed by the contractor per day or week or month. After the projected field team complement had been worked out, the contractor would then proceed to get the team together. In assembling the team, the contractor would utilize two sources of manpower: (1) existing employees which it transferred from jobs under other work orders; and (2) new employees which it recruited. Whenever a contractor hired a new employee for field team work, that employee was advised that he was subject to being sent anywhere that the contractor might be called upon to perform a work order, and that if the employee was unwilling to travel where thus directed to go, his only alternative was to resign. The employee was also advised that the contractor only had a basic contract for a year and that it had no way of knowing whether or when it would receive work orders under that contract. It was also made clear to*373  the employee that, while the contractor would endeavor to continue to utilize the services of the employee after completion of the work order in connection with which he was hired, it could not guarantee any such further employment; and if none were available, the employee would be laid off. Neither Lockheed nor Dynalectron maintained any pool or central area where an employee who had completed an assignment could be sent pending the contractor getting another work order on which such employee could be used. Both Lockheed and Dynalectron were involved in the performance of work orders at Key Field in Meridian, Mississippi, during the years involved. 3Lockheed had first come to Meridian in 1965 and it remained there until June 30, 1969, at which time (although it did not lose its status as holder of one of the three basic contracts) it was supplanted by Dynalectron. During the fiscal year ended June 30, 1969, Lockheed received two work orders to be performed at Meridian; and during the succeeding fiscal year, Dynalectron likewise received two work orders. While in most instances, the contractor's field teams were sent to the location where the aircraft were located, in the case*374  of the work orders performed at Meridian, the aircraft were brought by the Air Force to that work site from other locations.  During the performance of a work order, the Air Force always had an on-site representative, monitoring the performance of the contractor. One of the areas of concern was to determine whether the field team was over strength or under strength, as well as the quality of work of the field team members. Instances occurred when the composition of the field team was changed as the result of the recommendation of the Air Force's on-site representative. For this reason, as well as for the reason that the composition of the field team varied according to the nearness in point of time to the beginning or the end of the performance under the work order, the projected field team complement as worked out at the pre-dock meeting might vary as much as 10 to 20 percent during the performance of the contract. When an employee was hired,*375  or rehired, by a contractor, he was required to certify to the contractor his "permanent or domicile" address (in the case of Lockheed) or his "fixed or permanent domicile" (in the case of Dynalectron). If the address so certified was further than 50 miles from the job site where the employee was to work and if the employee did not drive back and forth to work, irrespective of the address which he had furnished, he was paid the per diem mentioned and described above. The per diem payments made by the contractors were included in their invoices to the Air Force, solely for the purpose of being reimbursed. There was no element of profit to the contractors in the per diem for which they sought reimbursement. Per diem paid to the field team employees who qualified therefor was at the rate of $11 per day for a leadman and an engineer, and $9 per day for the other members of the field teams. Per diem was paid for seven days per week, although the regular work week for field team members was a 5-day, 40-hour week. Field team members also received per diem during their initial travel to a work site, for days of travel when transferred to different work sites, and for a maximum of three days*376  for return to their homes, in the event they were laid off. They did not receive per diem during vacation periods; but they did receive per diem for three days up to a maximum of six days if they were sick. Neither Lockheed nor Dynalectron withheld Federal income tax from the per diem payments made to their employees. Petitioner was born and raised in Grafton, West Virginia. After graduating from high school in 1953, he became employed in railroad construction work in Grafton and lived at home with his mother. He was drafted into the Army in 1959 and was discharged in 1961. He came back to live with his mother in Grafton for about 11 months until he obtained his first employment with Dynalectron in 1962. During portions of the year 1965 and 1966, petitioner worked for Lockheed. The Dynalectron employment with which the present case is concerned began on September 20, 1966, when petitioner was hired as a materials control specialist and was assigned to Victorville, California, where he remained until the following July of 1967, when he was transferred to Amarillo, Texas, on July 5. After being in Amarillo only 23 days, petitioner was laid off by Dynalectron. Petitioner then went*377  back to Grafton and stayed with his mother while working at a new job he found in that community. Dynalectron rehired petitioner on October 4, 1967, and sent him to Maxwell Air Force Base at Montgomery, Alabama, where he stayed until September 9, 1968. On the latter date, petitioner was assigned to the Army Supply Depot in Atlanta. About six months later, on March 14, 1969, Dynalectron transferred petitioner from Atlanta to McGuire Air Force Base near Wrightstown, New Jersey. Petitioner's New Jersey assignment lasted until the end of July. For the month of August 1969, petitioner was on vacation, and he reported to Key Field at Meridian, Mississippi, in early September where he remained for the last four months of 1969 and throughout the year 1970. Petitioner terminated his employment with Dynalectron at or about the end of the year 1970. Petitioner was married in 1955 and he and Mrs. Guthrie had four children whose ages in 1969 ranged from nine years to four years. Mrs. Guthrie and the children accompanied petitioner at each of his assignments during 1969. While in Meridian, they lived in a house which they rented on a month-to-month basis because petitioner did not know when Dynalectron*378  might change his assignment again. Petitioner advised Dynalectron at the time he was rehired in 1966 (and several times thereafter) that his residence was 118 Ringler Street, Grafton, West Virginia. That address is the rented residence of his mother. Petitioner has not been in Grafton except on vacation since he stayed with his mother during the period he was laid off by Dynalectron. Petitioner maintains a savings account in the names of his daughter and his mother-in-law in a bank in Grafton. He purchased an automobile in Grafton in August 1969 while he was there during his vacation and while he was on the way from New Jersey to Mississippi. For reasons not shown by the record, petitioner put Alabama license plates on that automobile. He also had an Alabama driver's permit in 1969. Petitioner received per diem payments from Dynalectron during 1969 in the aggregate amount of $3,023. He did not include any amount of per diem in gross income on his 1969 return. In his notice of deficiency, respondent included $1,008 of per diem payments in petitioner's gross income. By amendment to his answer, respondent has sought to have included in petitioner's gross income for 1969 an additional*379  $2,016, and has sought an increased deficiency for that year. OPINION It must first be determined whether the per diem payments received by petitioner from Dynalectron in 1969 are includible in gross income for that year. It is believed that the per diem payments when received by petitioner constituted gross income. In very broad and sweeping language, section 61(a)(1) provides that "gross income means all income from whatever source derived." The Supreme Court has construed this "broad phraseology" to evince a Congressional intention "to tax all gains except those specifically exempted." Commissioner v. Glenshaw Glass Co.,348 U.S. 426"&gt;348 U.S. 426, 430. The per diem payments were "undeniable accessions to wealth, clearly realized and over which the [petitioner had] complete dominion" ( Commissioner v. Glenshaw Glass Co.,supra, p. 431); and the Code contains no provision exempting per diem payments from taxation. Manifestly, then, the respondent properly included them in petitioner's gross income. Leo C. Cockrell,38 T.C. 470"&gt;38 T.C. 470, 477-478, affd. (8th Cir.) 321 F.2d 504"&gt;321 F.2d 504; Darrell Spear Courtney,32 T.C. 334"&gt;32 T.C. 334, 341.*380 4The question remains whether petitioner is entitled to deduct any part or all of the per diem payments under section 162(a)(2) as expenses for travel while away from home in pursuit of his trade or business as an employee of Dynalectron.  Leo C. Cockrell,supra, p. 479. In the Cockrell case, it was pointed out that the Supreme Court, in Commissioner v. Flowers,326 U.S. 465"&gt;326 U.S. 465, rehearing denied 326 U.S. 812"&gt;326 U.S. 812, had laid down three requirements that a taxpayer must meet to be entitled to deduct away-from-home travel expenses: The expense must be reasonable and necessary traveling expense; it must be incurred by a taxpayer while away from home; and the expense must be incurred in pursuit of business. In the instant case, the parties differ only on the point of whether petitioner was "away from home." In the case of Truman C. Tucker,55 T.C. 783"&gt;55 T.C. 783, 786, the factors to be considered in determining whether a taxpayer should be treated as away from home for tax purposes were crystallized. It was there said: The purpose of allowing the deduction*381  of living expenses while a taxpayer is "away from home" is "to mitigate the burden of the taxpayer who, because of the exigencies of his trade or business, must maintain two places of abode and thereby incur additional and duplicate living expenses." Ronald D. Kroll,49 T.C. 557"&gt;49 T.C. 557, 562 (1968). In furtherance of this purpose, when a taxpayer with a principal place of employment goes elsewhere to take work which is merely temporary, he may deduct the living expenses incurred at the temporary post of duty, because it would not be reasonable to expect him to move his residence under such circumstances.  Emil J. Michaels,53 T.C. 269"&gt;53 T.C. 269 (1969; Ronald D. Kroll,supra.For this purpose, temporary employment is the type which can be expected to last for only a short period of time.  Beatrice H. Albert,13 T.C. 129"&gt;13 T.C. 129, 131 (1949). On the other hand, if a taxpayer chooses for personal reasons to maintain a family residence far from his principal place of employment, then his additional traveling and living expenses are incurred as a result of that personal choice, and are therefore not deductible. Commissioner v. Flowers,supra;*382 Ronald D. Kroll,supra at 561-562; Floyd Garlock,34 T.C. 611"&gt;34 T.C. 611, 614 (1960); Mort L. Bixler,5 B.T.A. 1181"&gt;5 B.T.A. 1181, 1184 (1927). Similarly, if a taxpayer accepts indefinite employment outside the vicinity in which he lives, but he does not change his family residence, the travel to his new place of employment and the additional living costs which he incurs there result, not from his employment, but from his decision not to move his residence. Rendell Owens,50 T.C. 577"&gt;50 T.C. 577 (1968); Maurice M. Wills,48 T.C. 308"&gt;48 T.C. 308 (1967), affd.  411 F.2d 537"&gt;411 F.2d 537 (C.A. 9, 1969). Thus, the deductibility of traveling expenses and duplicate living expenses depends upon the ultimate question of whether the taxpayer, under all the circumstances, could reasonably have been expected to move his residence to the vicinity of his employment. Respondent concedes on brief that petitioner's assignments in Atlanta and Wrightstown were temporary. He urges, however, that petitioner's assignment in Meridian was indefinite. That position is not well-taken. In light of the contractual arrangements between Dynalectron and the Air*383  Force, the employment arrangement between petitioner and Dynalectron and his own employment history with the company -- all as described in the findings of fact -- the Meridian assignment, viewed as of the end of 1969, must be regarded as only a temporary assignment rather than an indefinite one. Respondent urges, correctly, that an assignment to a post of duty, which is temporary at its inception, may with the passage of time be transformed into an indefinite one. However, that point in time of transformation had not been reached at the end of 1969 at Meridian. However, the evidence is persuasive that petitioner was at, not "away from," home during each of his 1969 assignments, for the purpose of section 162(a)(2). His family -- Mrs. Guthrie and the four children -- accompanied petitioner in Atlanta, in Wrightstown, and in Meridian, and that is certainly indicative that his home was in each of those places, during the times of his assignments. Those were the places where the Guthrie family ate, worked, slept -- in short they were where they lived, where they had their home. Petitioner's only living expenses were those incurred in Atlanta, in Wringhtstown, and in Meridian. He did*384  not incur any additional and duplicate ones at any other place, the burden of which the deduction of section 162(a)(2) is designed to mitigate. Those incurred in the named cities are personal, living, and family expenses barred deduction by section 262. Petitioner's tenuous residential ties to his mother's home in Grafton, West Virginia, will not support his contention that that city was his home, within the meaning of section 162(a)(2), during any time in 1969. It is concluded that petitioner was not "away from home," within the meaning of section 162(a)(2) during 1969, and accordingly that he is not entitled to any deduction under that section in the present case. * * * * *In accordance with the foregoing, Decision will be entered for respondent.Footnotes1. DeQuincy V. Sutton was counsel of record for petitioners at the time of trial. Mr. Sutton died in August 1974, shortly after the last brief was filed. There is presently no counsel of record for petitioners.↩2. All section references are to the Internal Revenue Code of 1954, unless otherwise specified.↩3. The petitioner-husband in the present case, as well as all the other husband-petitioners, worked at Key Field in Meridian. It is this work at Meridian that is the common element that prompted the consolidation of the cases for trial.↩4. See also Fred W. Phillips,T.C. Memo. 1973-58↩.